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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA


 Media Rights Technologies, Inc., and Hank   Case No. 1:24-cv-03441
 Risan,
                                             COMPLAINT FOR COPYRIGHT
                 Plaintiffs,                 INFRINGEMENT;
                                             CIRCUMVENTION OF COPYRIGHT
         v.                                  PROTECTIONS; ALTERATION OF
                                             COPYRIGHT MANAGEMENT
 Microsoft Corp.,                            INFORMATION; TRAFFICKING IN
                                             ILLICIT LABELS; THEFT OF
                 Defendant.                  TRADE SECRETS; VIOLATION OF
                                             UNFAIR COMPETITION LAW;
                                             VIOLATION OF DMCA TAKEDOWN
                                             ORDER; DECLARATORY
                                             JUDGMENT OF COPYRIGHT
                                             INVALIDITY

                                             DEMAND FOR JURY TRIAL
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   Plaintiffs Media Rights Technologies, Inc. (“MRT”) and Hank Risan (“Risan”) (collectively,

“Plaintiffs”) file this Complaint against Defendant Microsoft Corp. (“Microsoft” or “Defendant”),

and allege the following:

                                       INTRODUCTION

       1.      In 2002, MRT, a small software developer invented a ground-breaking digital rights

management (“DRM”) software called the Controlled Data Pathway (“CDP”). DRM software is

a set of tools that control access to copyrighted digital content, such as software, media, and

hardware. It is used to prevent piracy and to allow audio and video files to be shared, apps to be

updated, and cloud computing to operate securely. MRT’s technology solved the fundamental

issues of protecting access to, and securing transfers of, data stored within a computer in a cloud

network. MRT obtained multiple patents for CDP (the “Risan Patent Family”) and embedded a

unique digital “Watermark” and “Fingerprint” in the source code to help identify unlawful

copying. MRT also registered numerous copyrights for its works over the years.

       2.      Key industry players—including the Recording Industry Association of America

(“RIAA”) and the Motion Picture Association of America (“MPAA”)—found the CDP to be

100% effective at preventing unauthorized copying of media files, which was a feat that even

software mega-giants like Microsoft had not been able to accomplish. At the time, Microsoft’s

solution was completely ineffective.

       3.      The RIAA and MPAA arranged an introduction between MRT and Microsoft and

encouraged Microsoft to obtain a license to MRT’s technology. Microsoft was sufficiently

impressed that it offered to buy 51% of MRT for $50 million (the maximum sum that could be

offered before an antitrust review would be triggered under the Hart-Scott-Rodino Act). During

negotiations and subject to a non-disclosure agreement (“NDA”), Microsoft received user accounts




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from an MRT subsidiary (called BlueBeat.com) to review the CDP object code software, and MRT

provided information about the CDP technology and patents. Understanding the value of its

technology, MRT rejected Microsoft’s offer as too low.

       4.      Rather than increase its offer, license MRT’s code, or develop its own, Microsoft

instead decided to simply incorporate MRT’s source code into first Windows Vista, then other

Windows operating systems, and finally many other Microsoft products. Microsoft claimed the

code as its own, which it called the Protected Media Pathway (“PMP”). Microsoft had the means

(immense resources), motive (it had failed to develop its own solution to the problem of

unauthorized copying of media files and purchase of a third-party company with a solution to the

problem would have triggered an antitrust review under the Hart-Scott-Rodino Act), and

opportunity (access to MRT’s technology).

       5.      MRT has evidence that a former MRT employee, Liz Crowell (“Crowell”),

misappropriated MRT source code and other confidential business information and trade secrets

and provided them to Microsoft – enabling Microsoft to use MRT’s technology in a wide range of

products without its permission. This also destroyed MRT’s ability to market that same code to

others. Crowell served as MRT's Business Development Director and Document Control Manager

until she left the company in or about 2007.

       6.      When Microsoft filed a patent application for the PMP, the U.S. Patent and

Trademark Office (“USPTO”) twice rejected Microsoft’s application on the ground that it was

anticipated by a prior MRT patent application (which was an unpublished trade secret at the time

of Microsoft’s PMP application). The Patent Examiner determined that every element of the

claims in the Microsoft PMP application had been previously invented by MRT. Microsoft tried

to hide the infringement by citing 971 prior art citations but not the MRT patent application.




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       7.      In 2012, Microsoft was given access to execute a demonstration version of MRT’s

CDP object code as well as snippets of key patent enabling software source code prior to an MRT

patent auction held by Bank of America Merrill Lynch. The opening bidding price for the CDP

patents was $7-10 billion. Prior to the auction, Microsoft was granted NDA-restricted access to

over 25,000 confidential MRT documents regarding its intellectual property. MRT took extra care

to protect its trade secrets using a monitoring administrator, strong passwords, encryption, and an

End User License Agreement (“EULA”) providing limited access to that highly confidential and

proprietary information from a secure data room. Microsoft ultimately did not make an offer to

purchase or license MRT’s intellectual property, but it improperly gained access to, and

misappropriated, MRT’s confidential information and trade secrets.

       8.      Since then and through the present day, Microsoft has included MRT’s copyrighted

property and trade secrets in billions of copies of products in violation of MRT’s legal rights.

Microsoft’s infringing products range from media players to operating systems (Windows XP

Service Pack 3, Windows Vista, Windows 7, Windows 8, Windows 10, Windows 11, and the

Media Foundation Update to Windows N for the European Union). The offending Microsoft code

is embedded in virtually every Microsoft product, including the Azure Intelligent Cloud,

PlayReady, Xbox, and Office 365. For example, the CDP is used as an administrator to securely

purchase Microsoft Office 365, manage Office 365 software updates and renewals, securely

distribute Office 365 to a user’s computer, and securely manage Office 365 document creation,

storage, and rights for distribution to other users as well as Azure RMS - 2022, and Office 365 -

2022. It is also used to deliver Media Content on Spotify, Amazon, Netflix, and countless other

PlayReady customers.




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       9.      As a result, Plaintiffs have suffered substantial economic damages and are entitled

to relief against Microsoft.

       10.     On April 25, 2013, MRT filed a patent infringement action against Microsoft. One

of MRT’s patents was invalidated on unrelated grounds during a separate lawsuit with Capital One

in 2014. In April 2016, MRT dismissed its patent infringement action against Microsoft.

       11.     In 2017, MRT sued Microsoft for copyright infringement and other claims. The

Ninth Circuit held that certain claims asserted by MRT were precluded by its previous dismissal

of the patent claims, but that other claims were not precluded. In particular, “under the separate-

accrual rule, any sales of allegedly infringing Microsoft products after April 25, 2013, gave rise to

a cause of action (the ‘post-filing copyright infringement claims’) as of the date of the sale—i.e.,

at some point after April 25, 2013.” Media Rights Techs., Inc. v. Microsoft Corp., 922 F.3d 1014,

1024 (9th Cir. 2019). The court of appeals explained that “the separate-accrual rule means that a

new cause of action for copyright infringement accrued each time Microsoft sold an allegedly

infringing product.” Id. at 1023.

                                    NATURE OF THE ACTION

       12.     This is a civil action against Microsoft for damages, injunctive relief, attorneys’

fees and costs, and other appropriate relief based on the following causes of action:

               a. copyright infringement arising under the Copyright Laws of the United States

                   (17 U.S.C. § 501, et seq);

               b. circumvention of copyright protections (17 U.S.C. § 1201);

               c. alteration of copyright management information (17 U.S.C. § 1202);

               d. trafficking in illicit labels (18 U.S.C. § 2318);

               e. theft of trade secrets (18 U.S.C. § 1832 and state law);




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               f. violation of state unfair competition law;

               g. violation of DMCA takedown order (17 U.S.C. § 512);

               h. declaratory judgment of invalidity of infringing Microsoft copyrights (28

                   U.S.C. § 2201).

                                         THE PARTIES

       13.     Plaintiff Media Rights Technologies is a corporation organized under the laws of

California with a place of business at 515 Washington Street, Santa Cruz, California 95060.

       14.     Plaintiff Risan is domiciled in California.

       14.    Microsoft is a corporation organized under the laws of Washington with a place of

business at One Microsoft Way, Redmond, Washington 98052. Microsoft has a corporate office

in this District located at 901 K Street, N.W., Washington, D.C. 20001. Microsoft advertises, sells,

offers to sell, markets, promotes, and supports products and services infringing MRT’s intellectual

property rights in this judicial District, and introduces infringing products and services into the

stream of commerce knowing that they would be sold and/or used in this judicial District and

elsewhere in the United States.

                                  JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction over Counts I–V and VII-VIII under 28

U.S.C. §§ 1331, 1338(a), and 1338(b).

       16.     This Court has subject matter jurisdiction over Count VI under 28 U.S.C. § 1367.

       17.     Additionally, this Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332.

       18.     This Court has personal jurisdiction over Microsoft because Microsoft has

substantial, continuous, and systematic contacts with this District, including by regularly

transacting business within the District. In addition, Microsoft has purposefully directed its

activities toward, and consummated transactions within, this forum and has purposefully availed

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itself of the privilege of conducting activities in this forum, thereby invoking the benefits and

protections of its laws.

        19.     The acts complained of herein arise out of and relate to Microsoft’s forum-related

activities, making this Court’s exercise of jurisdiction over Microsoft reasonable.

        20.     Venue is proper in this judicial District under 28 U.S.C. § 1400(a) because

Microsoft may be found within this District and under § 1391(b) because a substantial part of the

wrongful conduct alleged herein occurred in this District. For example, Microsoft maintains an

office at 901 K Street, N.W., Washington, D.C. 20001, which facilitates the sale of the accused

products in this District. The Copyright Office is located in Washington, D.C. Key witnesses are

subject to the jurisdiction of this Court.

        21.     Microsoft sells a substantial number of the accused products to the Federal

Government. In fact, Microsoft is supplying the Government with infringing software and is

effectively defrauding the Government by certifying that its products comply with all applicable

laws.

        22.     This Court has personal jurisdiction over Microsoft because of Microsoft’s

substantial business in this forum, including selling products and conducting business, and because

Microsoft intended to cause harm to Plaintiffs in this forum.

                                   FACTUAL ALLEGATIONS

MRT Develops, Patents, and Implements a Successful Software Solution to Internet Media
Piracy

        23.     In or around 1998, Hank Risan founded the Museum of Musical Instruments

(“MoMI”). As part of its exhibitions, MoMI, through an associated website, became one of the

first websites to broadcast audio-visual works pursuant to 17 U.S.C. §§ 112 & 114. Within two

years, MoMI’s website had received over four billion hits.          MoMI obtained experimental



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interactive online publishing licenses from ASCAP, BMI, and SESAC, necessitating some form

of protection to prevent unauthorized copying of copyrighted audio-visual works.

       24.     This problem was not unique to MoMI. In the early 2000s, one of the greatest

factors holding back the music and video streaming industry was the issue of “stream ripping” –

the process of digitally capturing an audio or video file. In the process of digital capture, copyright

management software is removed, making stream ripping ideal for digital piracy of streaming

music and movies in violation of copyright law. Both the music and movie industries were keenly

aware of the challenges stream ripping posed from their prior experience with companies such as

Napster and knew streaming would not be economically viable until the problems could be

resolved. Every company in the industry, including Microsoft, attempted to develop its own

solution: a video and audio Digital Rights Management tool which could defeat the multiple

“cracking” software tools which were available. All attempts to solve the problem failed.

       25.     In or around 2001, Risan and others founded Music Public Broadcasting System

(“MPBS”) to develop security technologies to protect intellectual property in digital media. MPBS

developed its own intellectual property to support the e-commerce, entertainment, finance,

defense, education, and healthcare sectors. In 2004, MPBS changed its name to Media Rights

Technologies, Inc., or MRT. To avoid confusion, MPBS and MRT will both be referred to as

“MRT” herein.

       26.     Risan, the founder of MRT, developed solutions for protecting streaming content.

Risan had studied topology and network theory as applied to computers at University of California

– Santa Cruz, University of California – Berkeley, and Cambridge University, England at the Ph.D

level and had been writing software to address digital piracy since the late 1990s. His educational




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background was ideal for approaching and solving the problem. Mr. Risan called his programs

SeCure, and he authored most of the SeCure copyrights.

       27.    In early June 2002, MRT began software production on its SeCure Player for

Windows. Six weeks later, in July 2002, MRT had a working prototype of the Controlled Datapath

Software (“CDP”). By November 2002, MRT had enabled a production version of the CDP,

written entirely in software for Windows XP. (Windows XP was launched on October 25, 2002,

to the public. It had an enhanced multimedia system and would provide a 95% Operating System

Market Share for Microsoft.) In late November 2002, MRT filed a patent application entitled

“Controlling Interaction of Electronic Media” with the USPTO.

       28.    Each CDP software source code module contained Copyright Management

Information (“CMI”) including Title, Author, comments and date and time for when the module

was added to the CDP software. Most of these time stamps reflect summer 2002 as the date of

creation. Over the years, over 100 variations of the CDP were created. The software expression

of CDP technology created by Risan and MRT has gone by various names including X1 Recording

Control (“X1RC”) and BlueBeat Secure Player. The software was used to form the basis for

enablement of over 50 patents filed worldwide.

       29.    Because the specifications of the CDP patents contain critical X1RC source code

snippets that would be available to the public, MRT inserted a known piece of obscure code

elsewhere that would enable detection of any copying—a digital Watermark. The Watermark is

detectable in human-readable object code compiled from computer-readable source code

containing the Watermark. MRT included the Watermark in the IsRecorderPresent source code,

which performs application layer and kernel streaming media player detection using the CDP.




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MRT dubbed it the “Bad Boy” because it contained a list of unauthorized recording applications

that, if detected, would be blocked by the CDP.

       30.     In 2002, MRT developed a secure web-based music service, bluebeat.com

(“BlueBeat”). BlueBeat was an early internet music broadcast service licensed under 17 U.S.C.

§§ 112 & 114, licensed by over 60,000 composers. BlueBeat, Inc., was separately incorporated as

a wholly owned subsidiary of MRT in 2003.

       31.     Audio-visuals downloaded from BlueBeat could only be played on a copy of the

Microsoft Windows Media Player (“WMP”) that had incorporated X1RC and other MRT software.

The combination was called the BlueBeat SeCure Player (“BBSP”). In sum, the BBSP was an

application designed to prevent content piracy for media downloaded from BlueBeat on computers

using Microsoft operating systems.

       32.     The BBSP specifically incorporates the X1RC technology, including anti-

circumvention and anti-reverse-engineering protective measures, including, but not limited to,

encryption and strong passwords.

       33.     Around the same time, Microsoft was developing what it called the Secure Audio

Path (“SAP”), which also aimed to provide a secure networked streaming environment for

Windows. In late 2002, the RIAA and MPAA deemed the SAP ineffective at mitigating piracy.

Around 2005, Microsoft announced that it had abandoned SAP.

MRT Impresses the Music and Film Industries

       34.     In January 2003 MRT demonstrated its software to both the RIAA and the

International Federation of the Phonographic Industry (“IFPI”), the parent organization for all

record labels, in London, and submitted it to the RIAA for testing. The RIAA’s 2003 report stated:

“It appears from the demonstrations carried out by [MRT] for RIAA” that its invention “is an




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effective technology that solves a prevalent method of attacking secured content” and “appears to

defeat a whole class of circumvention tools.” It concluded that MRT “has come up with a

technology that seems to overcome a widespread class of audio recording tools used to circumvent

technical measures. [Its technology] appears to address a limitation in the extent to which many

known DRMs provide complete protection.” The same report also stated that the proposed solution

by Microsoft was ineffective.

       35.     The RIAA report was initially circulated within all the members of the recording

industry, but, on information and belief, the RIAA also circulated the report to Microsoft and other

computer industry companies in or around July 2003. On information and belief, the RIAA and

IFPI recommended at that time that Microsoft deploy the MRT CDP piracy solution.

       36.     Over 100 content creators and distributors including MPAA and movie and TV

studios reviewed the CDP under NDAs. The MPAA also tested MRT’s piracy solution around the

same time, found it to be effective at preventing piracy of video content from a computer, and

recommended that Microsoft deploy it.

       37.     In a 2003 meeting, Brad Hunt, the MPAA Chief Technology Officer (“CTO”), told

MRT that he wanted a Microsoft solution using MRT’s CDP, and with MRT’s permission he made

the contact with Microsoft to move forward. So too did Steve Marks, the RIAA general counsel.

In June 2003, Marks provided Microsoft with the RIAA report and contacted Microsoft with

MRT’s express consent to arrange a direct meeting between MRT and Microsoft. MRT’s first

contact with Microsoft was in November 2003 with David Vaskevitch, Microsoft’s CTO.

Discussions continued thereafter.




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Microsoft Unlawfully Copies MRT’s Intellectual Property

       38.     In July 2003, pursuant to an NDA, Microsoft was provided with a copy of the

confidential RIAA report as well as an object code demonstration version of CDP.

       39.     On or about August 28, 2003, Vaskevitch contacted MRT by email regarding the

CDP and the X1RC software. Vaskevitch reported to Chief Software Architect, and Microsoft

Chairman, Bill Gates at this time.

       40.     Vaskevitch was provided with a BlueBeat user account and a key for downloading

and testing BBSP. The BBSP version that Microsoft downloaded had an EULA that prohibited

reverse engineering and copying. Microsoft was also provided with documentation for how BBSP

used CDP to prevent piracy.

       41.     Liz Crowell—MRT’s recently hired Business Development Director and

Document Control Manager— spoke with Vaskevitch on MRT’s behalf in late 2003. She was a

long-time personal friend with Vaskevitch. She had secure, controlled access to the archived MRT

patent files, software embodiments, and related IP documents.

       42.     Prior to the conversation with Vaskevitch, Crowell spoke with MRT patent counsel,

who advised her not to disclose any trade secret material including patent manuscripts and

embodiment software. MRT also instructed her not to disclose any such information.

       43.     Crowell maintained all undisclosed patents and trade secrets in locked file cabinets

in her locked office. Only MRT’s CEO and COO had office keys in addition to Crowell. Only

Crowell had file cabinet keys.

       44.     Crowell was responsible for distributing all object code builds sent to studios and

record labels, which were sent pursuant to NDAs and licenses.




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       45.     She had access to copies of the patent enablement source code software, as well as

the associated patent enablement object code, all stored inside the archived patent cabinet, but was

not authorized to send this material to anyone. She had no authorized access to the Build

Computer, which contained over 90,000 files for BlueBeat production software builds showing

proof of MRT patent enablements. Included were detailed assembly instructions for the builds,

including how to make different versions of the CDP and other software.

       46.     Crowell nagged the MRT Chief Technology Officer for months to update the Trade

Secret Notebook under her control, which he did. The CTO showed Crowell the location of the

Build Computer, which was password protected, but refused to give her the password.

       47.     Crowell asked MRT CDP engineer Janet Brambaugh for the password to Build

Computer. Brambaugh was one of three MRT employees to have the password. On information

and belief, Brambaugh gave the password to Crowell, which would have given access to all MRT

source and object code and builds. Brambaugh gave Crowell the password because Crowell

insisted she needed it to send a build to a potential licensor.

       48.     In late 2003, Crowell took the folder for the as-yet unpublished MoMI-018/ʼ033

SeCure Cloud Patent, which included the full specifications, detailed drawings, diagrams, charts,

and software embodiments. MoMI-018 describes the Secure Cloud as it is used today. Crowell

also took at least four other related folders from a file cabinet to which only she possessed keys.

The file cabinet also contained encrypted DVD copies of patent enablement source and object code

software for which she had the password.

       49.     On information and belief, Crowell also surreptitiously obtained access to the Build

Computer at some point in 2004, giving her access to all MRT source and object code.




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       50.     In addition, MRT discovered (after Crowell left the company in or about 2007) that

the aforementioned Trade Secret Notebook and a notebook of unpublished patent claims had both

disappeared from a locked desk drawer to which only Crowell had a key. She also took the only

key.

       51.     MRT filed a police report regarding the theft of the notebook of trade secrets and

the notebook of unpublished patent claims. MRT called in a locksmith to get into Crowell’s locked

desk drawer and archive file after Crowell left.

       52.     Crowell deleted all her email files, including all correspondence with Microsoft.

She refused to respond to an email asking directly about her contacts with Microsoft. She refused

to re-sign an NDA even though she had invested approximately $1 million in MRT. She

abandoned approximately $1 million in MRT shares without notifying MRT.

       53.     On information and belief, the confidential files were taken for a meeting or

meetings with Microsoft, as early as December 2003 and occurring from time to time thereafter,

providing Microsoft with illegal early access not only to MRT’s concepts and ideas, but also how

those are embodied and expressed in specific source and object code. MRT believes that Crowell

unlawfully provided MRT’s trade secret intellectual property directly to Microsoft.

       54.     Further, in August 2004, MRT provided information about CDP to Microsoft,

including the Risan Patent Family. The information was provided under the protection of a signed

non-disclosure agreement (the “2004 NDA”) that specifically prohibited reverse engineering,

decompiling, or disassembling of MRT products. Once the 2004 NDA was executed, MRT

provided Microsoft with an executable object code copy and EULA of the BBSP and, shortly

thereafter, online access to the BBSP.




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       55.     In the fall of 2004, Microsoft requested, and MRT sent, a prospectus and business

plan. In December 2004, Microsoft offered $50 million for a 51% stake in MRT, effectively giving

MRT a value of $100 million. The offer was made directly to Risan by Adam Byrne of Microsoft

with a witness present. Risan conveyed the offer to MRT’s board and to MRT’s investment

banker, WR Hambrecht + Co.

       56.     In 2004, the threshold transaction amount set by the Hart-Scott-Rodino Antitrust

Improvements Act of 1976 (“HSR”) for disclosure to antitrust regulators was $50 million.

       57.     On information and belief, Microsoft had a much higher valuation of MRT, but

acquiring MRT would have given Microsoft an effective monopoly on DRM technology, so

Microsoft low-balled its offer to avoid HSR scrutiny. Crowell threatened to resign unless MRT

accepted Microsoft’s offer.

       58.     In January 2005, MRT declined Microsoft’s insufficient offer. Microsoft attempted

to persuade MRT to change its mind. In February 2005, MRT again declined the offer.

       59.     The U.S. Supreme Court’s decision in MGM Studios, Inc. v. Grokster, Ltd., 545

U.S. 913 (2005), renewed congressional interest in DRM, including the drafting of legislation that

would become the Platform Equality and Remedies for Rights Holders in Music Act of 2007 (the

“PERFORM Act”). Between early drafts of the PERFORM Act and Grokster, on information and

belief, Microsoft saw potential liability to content providers such as the RIAA and MPAA if it did

not implement effective piracy solutions in its operating systems. Microsoft’s motive for obtaining

MRT’s 100% effective piracy solution deepened.

       60.     In 2005, Microsoft announced that it was working on a DRM solution that it would

include in the 2006 version of its Vista software. According to the Microsoft Program Manager

for Windows Media Technologies: “The top objective for these mechanisms is to enable the




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Windows-based PC to play premium content in 2006 and beyond, offsetting any content-owners

fears that high-value content could be pirated if played on a PC. Currently, the PC cannot play

some classes of premium content. For example, a PC cannot receive 5C Digital Transmission

Content Protection (DTCP) content or playback pay-per-view movies from a cable or satellite

provider. An important reason for this is that the content owners don’t currently trust the PC

enough.” (“Output Content Protection and Windows Vista,” WinHEC 2005 Version - April 27,

2005).

         61.    In April 2005, Microsoft filed a patent application for a “Protected Media Pathway”

(“PMP”) technology. The patent claims and drawings show that the PMP is a copy of MRT’s

CDP, as a Patent Examiner subsequently concluded, unbeknownst to MRT. There were no

examples of source code embodiment software contained in the PMP patent application file. Thus,

it cannot be demonstrated that Microsoft had reduced the invention to practice at the time of the

filing of the application.

         62.    In March 2006, the RIAA again contacted MRT regarding the X1RC software. The

RIAA specifically requested that MRT develop a version of the X1RC software that could prevent

piracy on Microsoft’s Windows Media Player when downloading from Microsoft servers (the

“BBSP for WMP Software”). The BBSP for WMP Software includes the Watermark and

Fingerprint, among other intellectual property protections.

         63.    In summer of 2006, MRT delivered to RIAA and IFPI the object code for the BBSP

for WMP Software, as well as instructions for setting it up on a Windows server such as that used

by the Digital Media Association (“DiMA”), of which Microsoft is a member.

         64.    On November 8, 2006, RIAA/IFPI demonstrated the BBSP for WMP Software for

DiMA, including Microsoft. The demonstration was a complete success—and also gave Microsoft




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access to the object code for the BBSP for WMP Software to use on its Windows PlayReady

content and license servers through its association with DiMA through a EULA that prohibited

copying and reverse engineering. PlayReady was announced in February 2007 and released in June

2008.

        65.   In January 2007, Microsoft released the first commercial version of the Vista

operating system. It specifically prevented the use of the BBSP but included a DRM system that

worked virtually identically to X1RC. MRT later designed a special form of the BBSP that would

function with Vista, as a derivative work of the BBSP itself (“BBSP for Vista”). The CDP

software, the X1RC software, the BBSP software, the BBSP for WMP Software, the BBSP for

Vista software, and the remaining copyrighted MRT software are collectively the “MRT

Software.”

        66.   MRT believed that it had first detected the Watermark inside the Microsoft Media

Player in 2014 using Microsoft Visual Studio. However, MRT experts have been unable to verify

that the code surrounding the detected Watermark matched that of the surrounding code in its

original module, IsRecorderPresent, due to Microsoft’s obfuscation using its proprietary Warbird

Obfuscator encryption.

        67.   MRT’s Fingerprint and CDP declaring code appear in Microsoft products

including, but not limited to, Windows XP Service Pack 3, Windows Vista, Windows 7, 8, 10, 11

and a Media Foundation update to Windows N, Windows Media Player 11, Windows Media

Player 12, Windows Media Player Software Developers Kit, and PlayReady, and are also

dynamically configured into Internet Explorer 8, Internet Explorer 9, Internet Explorer 10, and

Internet Explorer 11 and all versions of Edge, upon a successful user request for media content.

The Fingerprint is present in the code relating to DRM for those products, and not elsewhere in




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the programming. Additionally, portions of the CDP declaring code are permanently resident in

the browsers, Explorer and Edge, to initiate a streaming request for media content. Tellingly, the

Fingerprint is not present in any Microsoft products published in the eight years prior to the release

of these original infringing products.

       68.     In 2012, MRT investigated potentially selling the Risan Patent Family through a

patent auction. On or about May 14, 2012, MRT and Microsoft entered into a confidentiality

agreement in connection with a possible acquisition of the patent portfolio. Using a secure data

room, Microsoft was given access to a substantial quantity of evaluation information that was

confidential and proprietary to MRT, including roughly 25,000 trade secret documents, subject to

an NDA. Microsoft chose not to pursue the transaction. Nevertheless, MRT believes that

Microsoft used the patent auction to improperly gain access to MRT’s trade secret intellectual

property.

       69.     Microsoft implemented “Warbird,” a program internal to the operating system that

obfuscated Media Foundation, the location of the purloined MRT code. This may have happened

as early as Vista. Warbird successfully obfuscated much of the code relating to DRM, including

the code surrounding the Watermark, preventing anybody from outside Microsoft from fully

determining the structure, sequence, or organization of Microsoft’s code. This obfuscation

covered up Microsoft’s theft of MRT’s copyrighted CDP code and constitutes fraudulent

concealment.

       70.     Warbird also obfuscated the Fingerprint, but as discussed below, in 2022 MRT was

eventually able to discover the Fingerprint in Microsoft’s infringing products after a reverse-

engineering tool, GHIDRA, developed by the National Security Agency became available.




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Prior Litigation Between the Parties

       71.     In April 2013, MRT brought a patent infringement suit against Microsoft. Media

Rights Techs., Inc. v. Microsoft Corp., No. 13-CV-01916 (N.D. Cal.) (“MRT I”). MRT alleged

that multiple Microsoft products contain the PMP software and therefore infringed on four of

MRT’s CDP patents: United States Patent No. 7,316,033 (the “’033 patent”), United States Patent

No. 7,578,002 (the “’002 patent”), United States Patent No. 7,904,964 (the “’964 patent”), and

United States Patent No. 8,132,263 (the “’263 patent”).

       72.     After one of the MRT patents was found invalid for unrelated reasons in a separate

litigation (Media Rights Techs., Inc. v. Cap. One Fin. Corp., 2013 WL 6506176, at *1 (E.D. Va.

Dec. 9, 2013), aff’d, 800 F.3d 1366 (Fed. Cir. 2015)), MRT voluntarily dismissed its patent

infringement suit with prejudice, and instead filed a lawsuit claiming copyright infringement,

violation of the Digital Millennium Copyright Act (“DMCA”), and breach of contract—Media

Rights Techs., Inc. v. Microsoft Corp., No. 17-CV-01925 (N.D. Cal.) (“MRT II”). The district

court dismissed the second lawsuit based on claim preclusion, but the Ninth Circuit reversed in

part, holding that, while some claims were barred as a result of MRT I, the copyright infringement

claims arising after the filing of MRT I could proceed. See Media Rights Techs., Inc. v. Microsoft

Corp., 922 F.3d 1014 (9th Cir. 2019). MRT voluntarily dismissed MRT II without prejudice.

       73.     In 2020, MRT began to examine Microsoft’s PMP source code using “GHIDRA,”

a state-of-the-art open-source reverse engineering tool developed by the National Security Agency

and only made publicly available starting in 2019. GHIDRA allowed MRT to partially unlock

Microsoft’s proprietary “Warbird” encryption obfuscation system that was hiding stolen MRT

code in Microsoft products (evidence to which MRT previously did not have access). Using

reverse engineering of Microsoft object code into source code, MRT engaged in extended




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GHIDRA analysis to discover that at least 43,000 lines of MRT source code are embedded in the

Microsoft PMP software. This led to the discovery of the MRT Fingerprint in 2022. The

infringing code was found in Microsoft’s implementing Policy Engine and declaring

MFPMP.EXE source code.

       74.       A line-by-line expression comparison of more than 1,900 lines of CDP declaring

source code (comprising 57 functions) against the corresponding Microsoft declaring source code

shows that the expression is substantially similar (Microsoft copied all 57 functions), with the main

differences being only reformatting and term changes. The Structure, Sequence, and Organization

(“SSO”) after the Abstraction-Filtration-Comparison Test of the MRT and Microsoft code is a 100

percent match.

       75.       There are numerous signs of copying. For example, Microsoft copied the CDP

technique of keeping the X1Server implementation code in a separate .exe task container which is

not the typical approach taken by Microsoft. Microsoft essentially paraphrased thousands of lines

of the CDP code and added additional code to support Application Programming Interfaces

(“APIs”) to allow for third-party access (by content providers such as Netflix or Spotify, for

example).    These changes are not exculpatory, transformative, or evidence of independent

invention but simply adaptations for special Microsoft needs. Thus, Microsoft used different

function names for the MRT code; Microsoft code has added support for an API that can be used

by third party developers, making it easier to proliferate throughout the developer community; and

Microsoft does not retain MRT’s copyright management information and instead has replaced it

with its own copyright information. These differences cannot obscure the fundamental copyright

infringement.




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       76.     Further proof of copying is the fact (revealed by MRT’s GHIDRA analysis) that

the Microsoft code shows the same digital “Fingerprint” that MRT had embedded in its own source

code. Each of the 57 CDP functions was assigned an operating system layer number: 2, 3, or 4.

Layer 2 denotes the kernel, Layer 3 is the user mode subsystem, and Layer 4 is the application

layer. Using GHIDRA, MRT discovered that 44 of these 57 points of identification were copied

by Microsoft and the layering sequence of the 44 copied functions was exactly the same. The

overall assignment of various function calls to specific operating software layers was a choice

made by the implementers of this particular code version. Other MRT CDP software solutions use

different network layer sequences to solve the problem of protecting content. The only way to

discover this Fingerprint was with the GHIDRA reverse engineering suite of tools, to overcome

Microsoft’s proprietary Warbird Encryption and Obfuscation program.

       77.     MRT created the CDP in a nine-step process, in which each step performs a task,

such as: authenticate, decrypt, or block media content through a secure pathway in the operating

system within a cloud computer network. Microsoft’s PMP mirrors this structure and is divided

into nine steps as well.

       78.     In short, the GHIDRA analysis shows that the SSO source code expressions of the

nine steps match; the functions within each steps match; and 44 out of 57 points of identification

in the embedded Fingerprint match.

       79.     In addition, in late 2021, MRT learned that in 2008 and 2009, the USPTO had twice

rejected Microsoft’s patent application for PMP due to similarities with one of MRT’s patents,

MoMI-018 (which concerns MRT’s secure data cloud network and has its own valid copyright

registration). It was this patent that MRT now believes Crowell gave to Microsoft in late 2003.

According to the Patent Examiner, all seven PMP embodiments, 20 out of 20 PMP patent claims,




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and at least 15 out of 27 architectural diagrams and related detailed descriptions had already been

disclosed by MRT’s previous patent application. The examiner stepped through each and every

claim of Microsoft’s PMP application and showed how it was essentially identical to MRT’s

MoMI-018 patent (a/k/a “Risan,” in the prior art discussions). In other words, the examiner twice

rejected all 20 claims in Microsoft’s PMP patent application because it was strikingly similar to

MRT’s prior unpublished application. The examiner explained: “Claims 1-20 are rejected under

U.S.C 102(e) as being anticipated by Risan et al Publication No. 2005/0172121 Al), hereinafter

Risan.” Exhibit A to this Complaint shows how the Patent Examiner identified 28 MRT patent

claim components (each a trade secret) misappropriated by Microsoft.

    The USPTO Index of Claims clearly shows the rejection history of Microsoft’s patent

application against MoMI-018:




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       80.     Significantly, the MoMI-018 patent was unpublished at the time Microsoft

submitted its patent application for PMP. MRT filed an application for the MoMI-018 patent on

February 3, 2004, and that application was subsequently published on August 4, 2005. Yet

Microsoft filed its PMP patent application on April 27, 2005 – more than three months prior to the

publication of MRT’s MoMI-018 patent. Microsoft could have had access to the information

disclosed in MRT’s MoMI-018 patent application only by misappropriating MRT’s trade secrets

disclosed by Crowell in late 2003. Microsoft knew what it could not have known without access

to MRT’s trade secrets, before it could have known it through other means. Below is an overview

of the history of the two patent applications:


                             MRT ‘095 Patent                     Microsoft ‘481 Patent
                           (MRT ‘031 Application)             (Microsoft ‘689 Application)
  App #                                 10/772,031                               11/116,689
  Patent #                                7,802,095                                9,363,481
  Filed:                                   2/3/2004                               4/27/2005
  Claimed priority:                                                               4/22/2005
  Awarded priority:                              2/3/2004                         4/27/2005
  Earliest pub date:                             8/4/2005                        11/02/2006

       81.     The table below summarizes the Patent Examiner’s rejection of Microsoft’s patent

claims and maps Microsoft patent claims onto the copyrighted textual and diagrammatic

descriptions included in various paragraphs in MRT’s patent (an unpublished trade secret at the

time of Microsoft’s patent application), according to the paragraph numbers cited by the examiner.




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 USPTO Patent Rejection Table - Microsoft PMP Patent Application No. 11/116,689
 Rejection Dated: 10/24/2008

    Microsoft         Microsoft Incorporated           US20050172121A1 Reference
    Claim #                   Claim                               Location
        1                                              A, P0068, P0220, P0111, P0037
        2                         1                                P0067
        3                         1                                P0220
        4                         1                                P0257
        5                         1                                P0046
        6                         1                                P0053
        7                         1                                P0053
        8                         1                                P0083
        9                                                       P0101, 0278
       10                         9                                P0087
       11                         9                                P0101
       12                         9                                P0098
       13                         9                                P0278
       14                                            P0093, P0088, P0083, P0335, P0149
       15                        14                                P0248
       16                        14                                P0317
       17                        14                                P0335
       18                        14                                P0337
       19                        14                                P0298
       20                         1                                P0295

                                                                    Legend:
                                                        (for Risan Reference Locations)

                                                           A Refers to the Abstract
                                                       P Prefaces the Paragraph Number

       82.    The Patent Examiner’s analysis of the MoMI-018 Content Delivery Network

(“CDN”) provides direct evidence of Microsoft’s copying of MoMI-018 trade secrets. The CDN

was the world’s first copyrighted architectural design plan for a secure networked streaming

environment, now known as the “Secure Cloud,” using the CDP source code to secure the media.

Microsoft copied over 14 of MoMI-018 detailed diagrams in a strikingly similar manner.




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       83.    Diagram FIG. 8. (below), a descriptive diagram for the Secure Cloud, appears in

MoMI-018 and was created by MRT in mid-2003. MRT launched its Secure Cloud in November

2003 with BlueBeat.com. FIG. 8 even discloses the actual equipment and software components

used to power the Secure Cloud.




       84.    The component reference numbers in FIG. 8 above correspond with detailed

instructions, additional diagrams, and source code, which are comprised of hundreds of paragraphs

and thousands of words in MoMI-018.

       85.    The Patent Examiner’s decision regarding claim 16 of MoMI-018, which describes

the architecture of the Secure Cloud, rejects Microsoft’s PMP Cloud disclosure as a brazen copy

of MRT’s Secure Cloud:


       In regard to claim 16, claim 14 is incorporated and Risan discloses:

       -      further comprising a digital rights management system communicating
       with the protected media pipeline (Risan, paragraph [0317], “Accordingly
       administrative node 1770 can, in one embodiment, be configured to provide
       management functionalities to a network, (e.g., network 1700 or network 800 of
       FIG. 8). Types of management functionalities that can be provided by
       administrative node 1770 can include, but is not limited to, network management,


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       user management, encryption and decryption key management, authorization
       management media management, transaction management, player application
       management, and cache management. Administrative node 1770 can also be
       implemented as a source node 1715 and/or as a media delivery point as described
       herein with reference to FIG. 8”).

       86.    A side-by-side comparison of MRT’s Secure Cloud configuration and the

corresponding portion of Microsoft’s PMP patent application confirms Microsoft’s copying.

Compare MRT’s MoMI-018 diagram (FIG. 5D, below right, as described in claim 1) with

Microsoft’s diagram (FIG. 6, below left). FIG 5D provides a complete roadmap for securing media

content transmitted from the Cloud to a user’s computer with detailed descriptions, diagrams and

declaring source code embodiments.




       87.    The red arrows show where Microsoft clumsily copied key elements from MoMI-

018. Microsoft attempted to obfuscate its copying, but the Microsoft copied diagram FIG 6 is

strikingly similar to MoMI-018 trade secret FIG 5D, as the Patent Examiner noted. Microsoft

published FIG. 6 at the WinHec 05 on April 27, 2005 technology conference, and again a year

later at WinHec 06. In 2005, all of the materials of MoMI-018 were a trade secret when

misappropriated.




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       88.     The components within FIG 5D were copied as well. For example, Microsoft

copied both MRT’s secure codec 303 (also known as coder/decoder 303), which is a component

of CCM 300 (on the upper right of FIG 5D), and its disclosed declaring code.                MRT’s

coder/decoder was copied by Microsoft beginning with paragraph [0067] of MoMI-018, followed

by 21 detailed paragraphs, including two source code disclosures and multiple diagrams, as the

USPTO Patent Examiner’s decision discussed:

       “In regard to claim 2, claim 1 is incorporated and Risan discloses:
       “- wherein one of the transform mechanisms of the plurality of transform
       mechanisms is a decoder (Risan, paragraph [0067], "Still referring to FIG. 3,
       copyright compliance mechanism 300 further includes a coder /decoder 303')”:

The coder/decoder 303 is an example of a stolen trade secret and is identified along with

other misappropriated trade secrets in Exhibit A to this complaint.

       89.     The Coder/decoder 303 is expressed in software to securely perform

encoding/decoding of media files, compressing/decompressing of media files, and detecting

that delivered files are properly encrypted within a secure pathway. From introductory paragraph

[0067] on how to build a coder/decoder 303 from MoMI-018, the Patent Examiner observed:

       “Still referring to FIG. 3, copyright compliance mechanism 300 further includes a
       coder/decoder (codec) 303 that, in one embodiment, is adapted to perform, but is
       not limited to, encoding/decoding of media files, compressing/decompressing of
       media files, and detecting that delivered media files are encrypted as prescribed
       by CCM 300.”

       90.     The coder/decoder 303 software, in the form of a secure networked media driver,

was inserted into the Microsoft OS stack (center of FIG 5D) by MRT, where the CDP redirected

media files into a controlled data pathway such as a Netflix movie to coder/decoder 303 in order

to perform the movie securely. Paragraphs [0074] and [0078] in MoMI-018 provide software

expression exemplars to embody coder/decoder 303. These declaring code software exemplars

were copied by Microsoft.



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          91.    The declaring source code for the coder/decoder in MoMI-018        express key

elements of the CDP; one source code exemplar was provided in MoMI-018 paragraph [0077], so

the CDP using CCM 300 can be created within any media player application within a computer

operating system connected to the Cloud. The source code expression described below will

hook into and work on any operating system as is described at the end of MoMI-018 paragraph

[0077]:

          “The following C++ source code is an exemplary implementation of a portion of a
          codec 303 and/or a custom media device driver 307 for diverting and/or
          redirecting certain data pathways that are commonly used for recording of media
          content, in accordance with an embodiment of the present invention:

          [0077] DWORD
          _stdcall
          widMessage(UINT            uDevId,
             UINT            uMsg,
             DWORD dwUser,
             DWORD dwParam1,
             DWORD dwParam2)
          {
          BOOL bSkip; /* flag indicating operation to be
          skipped */
          HWND               hWndMon; /* handle to main window
                   for monitor */
          DWORD              dwRetVal; /* return value for
                   operation */
          /* initialize variables */
          bSkip = FALSE;
          dwRetVal = (DWORD) MMSYSERR_NOTSUPPORTED;
          if (uMsg == WIDM_START)
          {
          /* attempt to locate window for monitor application */
          if ( (hWndMon = FindMonitorWindow( ))
             != (HWND) 0)
          {
          /* obtain setting for driver */
          bDrvEnabled = ( SendMessage(hWndMon,
          uiRegMsg,
          0,
          0)
          == 0)


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       ? FALSE : TRUE;
       }
       if (bDrvEnabled == TRUE)
       {
       /* indicate error in operation */
       dwRetVal = MMSYSERR_NOMEM;
       /* indicate operation to be skipped */
       bSkip = TRUE;
       }
       }
       if (bSkip == FALSE)
       {
       /* invoke entry point for original driver */
       dwRetVal = CallWidMessage(uDevId, uMsg, dwUser,
       dwParam1,
       dwParam2);
       }
       /* return to caller */
       return dwRetVal;
       }”
       “It is noted that when properly configured, system hook 305 can govern nearly
       any function or property within nearly any media player application that may be
       operational within a client computer system, (e.g., 210). In one
       embodiment, system hook 305 is a DLL (dynamic link library) file. It is further
       noted that system hooks are well known in the art, and are a standard facility in a
       Microsoft Windows™ operating environment, and accordingly can be
       implemented in a variety of ways. However, it is also noted that system
       hook 305 can be readily adapted for implementation in alternative operating
       systems, e.g., Apple™ operating systems, Sun Solaris™ operating systems, Linux
       operating systems, and nearly any other operating system.”


       92.     The copied code first appeared in Windows Vista in 2007 and has been in Windows

ever since.

       93.     In 2009 and 2010, Microsoft amended its patent claims and tried again. In May

2010, the USPTO again rejected Microsoft’s application because the amended claims still read on

the prior art, including MRT prior art.

       94.     In 2012, Microsoft tried again and failed to obtain its patent, once more because

the prior art already disclosed the invention to a person skilled in the art.




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       95.    Thus, the USPTO repeatedly recognized that the supposed PMP invention was a

virtual copy of MRT’s CDP.

       COUNT I—INFRINGEMENT OF COPYRIGHT (17 U.S.C. § 501 ET SEQ.)

       96.    MRT realleges the foregoing paragraphs as if fully set forth herein.

       97.    MRT owns and has registered the copyrights for the code behind the MRT

Software, including the CDP, X1RC software, the BBSP, the BBSP for WMP Software, and the

BBSP for Vista Software. MRT holds the exclusive right to reproduce, to create derivative works

of, and to distribute the MRT Software.

       98.    The CDP source code was created in 2002. The copyright was initially registered

as TX0007580669 on September 20, 2012, and supplemented on October 15, 2012

(TX0006604611) and August 23, 2013 (TX0006484665).

       99.    The IsRecorderPresent software was created in 2002 and is unpublished.       The

copyright was registered as TX0007714608 on July 31, 2013.

       100.   The BBSP software was created in 2004, and the copyright was registered as

TXU001892246 on April 16, 2014.

       101.   The X1RC software was created in 2003, and the copyright was registered as

TXU002101909 on April 6, 2017.

       102.   The BBSP software (later version) was created in 2006, and the copyright was

registered as TXU002080138 on April 6, 2017.

       103.   The BBSP for WMP software was created in 2006, and the copyright was registered

as TXU002101908 on April 6, 2017.

       104.   The BBSP for Vista Including X1 Kernel Component software was created in 2009,

and the copyright was registered as TXU002080140 on April 6, 2017.




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        105.    “Securex1 and 9 Other Unpublished Works” were created in 2006, and the

copyright was registered as TXU002223706 on October 23, 2020. This is the Build Computer

registration.

        106.    “Controlling Interaction of Deliverable Electronic Media” was created in 2003 and

published on May 27, 2004. The copyright was registered as TX0009094163 on March 12, 2022.

        107.    “Method and System for Controlling Video Media” was created in 2003 and

published on April 14, 2005. The copyright was registered as TX0009094165 on March 12, 2022.

        108.    “Method and System for Preventing Unauthorized Recording of Media Content in

an iTunes TM Environment” was created in 2004 and published on August 4, 2005. The copyright

was registered as TX0009094179 on March 12, 2022.

        109.    “Method and System for Preventing Unauthorized Recording of Media Content on

a Macintosh Operating System” was created in 2004 and published on August 4, 2005. The

copyright was registered as TX0009094171 on March 12, 2022.

        110.    “Method for Redirecting of Kernel Data Path for Controlling Recording of Media”

was created in 2014 and published on October 1, 2015.          The copyright was registered as

TX0009094287 on March 12, 2022.

        111.    “Preventing Unauthorized Distribution of Media Content within a Global Network”

was created in 2003 and published on March 17, 2005.           The copyright was registered as

TX0009168277 on September 9, 2022.

        112.    Microsoft is directly liable for copyright infringement by willfully creating,

publishing, reproducing, and distributing and performing the unpublished MRT Software. PMP

and all of Microsoft’s products using PMP contain a copy of, or derivative work of, the MRT

Software suite. Microsoft’s infringing products range from media players to operating systems




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(Windows Vista, Windows 7, Windows 8, Windows 10, and Windows 11, Windows N and IE and

Edge browsers). The offending Microsoft code is embedded in virtually every Microsoft product,

including the Azure Intelligent Cloud, PlayReady, Xbox, and Office 365.

          113.   Microsoft had a motive to copy the MRT Software due to its inability to create the

software on its own and the prospect of liability to media creators whose works were not protected

by Microsoft. Microsoft’s attempts to acquire the technology through legitimate means (e.g.,

purchase) failed, increasing its motive for acquiring the software through illegal means including,

but not limited to, misappropriation and copying, especially since it had failed to acquire MRT

without breaching the HSR limit.

          114.   Microsoft had several opportunities to copy the source and/or object code for the

MRT Software, including through Crowell’s theft of intellectual property from MRT, examination

under the 2004 NDA, access through the 2006 demonstration to DiMA, violation of the 2012

NDA, and misuse of the 2012 data room set up for the potential patent portfolio acquisition.

          115.   Microsoft’s copying is evident because of the presence of the Fingerprint and the

100 percent SSO code match in the software containing its PMP code, including but not limited to

the Original Infringing Products.

          116.   Microsoft’s copying is evident in the USPTO’s two-time rejection of its PMP patent

for obvious duplication of the specifications, diagrams, and claims of MRT’s ʼ033 SeCure Cloud

Patent.

          117.   Microsoft’s copying is also evident in the nearly identical SSO of PMP in

comparison to MRT’s CDP.

          118.   Microsoft successfully obfuscated its copyright infringement with Warbird, which

constitutes fraudulent concealment and tolls any applicable statute of limitations.




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       119.    But the public release in 2019 of GHIDRA software by the NSA allowed MRT

experts to reverse engineer some—but still not all—of Microsoft’s PMP code. In the code that

was reverse engineered, the SSO of the PMP code had a 100% match to MRT’s copyrighted CDP

code and also revealed the distinctive Fingerprint. The code surrounding the Watermark is still

hidden by the Warbird Obfuscator in the GHIDRA analysis.

       120.    Microsoft’s copying has damaged MRT by depriving it of the ability to market its

own DRM technology. MRT was engaged in many discussions to license its technology, under

NDAs with companies such as IBM, Intel, Nokia, Hewlett Packard, and Phillips, but Microsoft’s

infringement caused the market for licensing to dry up. Microsoft’s infringement has caused the

RIAA and other content providers to lose all interest in MRT’s X1RC technology.

       121.    Microsoft continues to infringe MRT’s copyrights with every publication of its

infringing products.

       122.    In addition, on information and belief, Microsoft has created derivative works of

the infringing products, which also infringe on MRT’s copyrights (“Derivative Infringing

Products” and, together with the Original Infringing Products, the “Microsoft Infringing

Products”).

       123.    Microsoft is also liable for contributory copyright infringement. Microsoft induces

customers to commit infringement by persuading and encouraging some customers to distribute,

and other customers to license, Windows and PlayReady via marketing and sales activities and

global licensing patents. Microsoft contributes to the infringement by knowingly providing

components inside Windows and PlayReady that are primarily intended to be used in an infringing

way. PlayReady has over 1,000 distributors.




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        124.    Microsoft’s infringement of MRT’s copyrights is deliberate, willful, and in

disregard of MRT’s rights, and is being committed for ongoing commercial gain. Microsoft’s

willfulness is evidenced by its refusal to act expeditiously to remove or disable MRT’s copyrighted

code.

        125.    MRT’s claim for infringement accrues with each and every publication and update

of a copyrighted work.

        126.    MRT has been and continues to be injured by Microsoft’s ongoing infringement of

its registered copyrights.

        127.    Microsoft’s infringement is not fair use. MRT’s work, and Microsoft’s use of that

work, is clearly commercial. Copying MRT’s code is unnecessary to perform the core functions

of Digital Rights Management. Moreover, Microsoft’s copying is substantial, and its incorporation

of MRT’s code into Windows has effectively destroyed the market for MRT’s work. Furthermore,

MRT’s code was unpublished. Accordingly, Microsoft’s infringement cannot qualify as fair use.

        128.    MRT is entitled to the actual damages it has suffered from Microsoft’s continuing

infringement of its copyrights, as well as to the profits attributable to the distribution or sale of the

Microsoft Infringing Products, in an amount to be proved at trial.

        129.    The harm to MRT has been irreparable and will continue unless restrained by this

Court. MRT does not have an adequate remedy at law to prevent a giant software company from

publishing illicitly copied code. MRT is therefore also entitled to injunctive relief restraining

Microsoft and all of its employees, officers, agents, and all persons acting in concert from

continuing to infringe on MRT’s copyrights by reproducing or distributing the Microsoft

Infringing Products, and from creating further works derivative of those copyrighted materials.




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         130.   Moreover, MRT’s software code was and still is unpublished. Microsoft’s use and

publication of that code violates MRT’s right not to speak under the First Amendment. MRT is

therefore entitled to an injunction halting further use or licensing of Microsoft’s PMP patent and

software.

         131.   MRT is also entitled to recover attorneys’ fees and costs pursuant to 17 U.S.C.

§ 505.

            COUNT II—CIRCUMVENTION OF COPYRIGHT PROTECTIONS
                             (17 U.S.C. § 1201)

         132.   MRT realleges the foregoing paragraphs as if fully set forth herein.

         133.   Microsoft circumvented technological measures that effectively controlled access

to works in which MRT held a copyright, the MRT Software. Those measures included but were

not limited to distinctive protections such as patented and copyrighted multiple layered encryption

and strong passwords.

         134.   All of the MRT Software contained provisions in its licenses that prohibited

reverse-engineering or decompiling the source code. The 2004 NDA also included a specific

prohibition on reverse-engineering and decompiling.

         135.   In addition, the data room set up in 2012 for Microsoft to evaluate the Risan Patent

Family contained effective technological measures to control access to the copyrighted

components of the MRT Software and various trade secrets. Microsoft signed an NDA to obtain

the password to the secure data room.

         136.   Microsoft circumvented MRT’s own technological measures in misappropriating

its copyrighted works. All of the MRT Software contained provisions in its licenses that prohibited

reverse-engineering or decompiling the source code. The 2004 NDA also included a specific

prohibition on reverse-engineering and decompiling.



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       137.    Microsoft circumvented MRT’s technological measures by reverse-engineering the

MRT Software—by “descrambling” the necessary object code or copying source code or other

embodiments of the MRT Software. Microsoft also obtained encrypted software and passwords

from Liz Crowell to enable it to circumvent the technological measures adopted by MRT for its

source code and Build Computer data.

       138.    Microsoft’s reverse engineering is not protected by 17 U.S.C. § 1201(f) because

Microsoft did not obtain access to the MRT Software legally, and the reverse engineering was not

for the sole purpose of identifying and analyzing those elements of the program that are necessary

to achieve interoperability of an independently created computer program with other programs.

When Microsoft did obtain access to MRT Software through legitimate means (e.g., the 2004

NDA), reverse-engineering was specifically prohibited.

       139.    Microsoft’s circumvention of the controls is evident from the presence of MRT’s

Fingerprint in Microsoft’s code. The presence of the distinctive Fingerprint pattern cannot be

dictated by efficiency or external factors, nor was it part of the public domain. The presence of

the Fingerprint in Microsoft’s code is inexplicable unless Microsoft stole MRT’s source code or

portions of MRT’s code were reverse-engineered and used.

       140.    Microsoft circumvented MRT’s technological measures in order to gain access to

the copyrighted code, which allowed Microsoft to develop the Microsoft Infringing Products.

       141.    Microsoft has committed further violations of Section 1201 because the relevant

versions of Microsoft Windows include misappropriated MRT Software, and Windows is

therefore a derivative work, a combination of the labor of two different copyright owners. Only

one of the owners (Microsoft) has given permission to access the work. MRT has not.




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       142.    Due to Microsoft’s wrongful conduct, Microsoft’s own technological copyright

protections are circumvented whenever media is actually played and whenever audio-visual works

are viewed or heard. Every time a Microsoft operating system or Azure Media Services user logs

in to listen to Spotify, watch a Netflix movie, or otherwise view audiovisual content, a Microsoft

technological copyright protection measure is deactivated by Microsoft without the approval of

MRT, and the unauthorized user is granted access to Microsoft’s derivative work containing

MRT’s unpublished copyrighted code.

       143.    For example, when a user wishes to stream protected content on a Microsoft Edge

Browser on the Windows Operating System (such as by watching a movie on Amazon Prime or

listening to music on Spotify), a PlayReady session is started with a request to stream content. The

rights to stream the content are governed by the streaming serving contract. The license keys are

exchanged by Microsoft using PlayReady License servers and the streaming service, giving the

user permission to stream content. The Microsoft PMP Policy Engine regulates the permissions

to stream the content. Microsoft then uses the license keys transmitted from the PlayReady License

servers to start a viewing session. The keys are used to trigger Warbird decryption of the content

protection mechanisms inside the module MFPMP.EXE (an SSO copy of MRT CDP copyrighted

code), which resides inside the Windows Operating System Kernel. MFPMP.EXE code inside the

Windows OS Kernel is then decrypted and sent to the Edge browser and used to protect the

streamed media content. The decryption is a circumvention of a technological measure that

Microsoft added to the derivative work it created with the MRT CDP.

       144.    In addition, Microsoft transmits the license keys over the Internet from the

Windows PlayReady server to the client computer, in violation of Section 1201(b)(1), which

prohibits “traffic[king]” in “any technology, product, service, component, or part thereof” that is




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primarily designed or produced for the purpose of circumventing protection afforded by a

technology measure to copyright owners. The PlayReady license server is a component dedicated

to delivering the licenses to the client computer so that the MRT code can be unlocked in the

Microsoft kernel and sent to the Edge browser to protect the media content.

       145.    Further, once decrypted, an unauthorized copy of the derivative work of the CDP

code is made and stored in temporary memory for the duration of the streaming session (non-

transitory), in violation of Section 1201(a)(1) and 1201(b)(1), and the exclusive rights of MRT, its

copyright owner.

       146.    In addition, the use of any password granting access to Windows clients and

PlayReady based servers constitutes a circumvention under 17 U.S.C. § 1201. When a user logs

in to the Windows Operating System, for example, Microsoft circumvents the protection of the

password, which is a technological measure to the operating system regulating access to protected

works. When a user logs on and gives Microsoft the password, Microsoft uses that password to

unlock the operating system for general use. Because Windows is a derivative work that contains

MRT’s copyrighted property, Microsoft’s unlocking of the Operating System constitutes another

violation of Section 1201. The primary function of the password unlock is to circumvent a

technological measure that protects the right to control copies of derivative works. The unlock

mechanism initiates copying of portions of Windows (a derivative work) from the computer’s hard

drive into the computer’s temporary memory (non-transitory) for access by the user. The copy is

maintained in memory until the user logs out. The password login circumvention described above,

also grants access to Microsoft’s Browner, either Edge or Internet Explorer. The browser contains

a portion of MRT’s Declaring Code, which is used to initiate a request to access media from a

PlayReady source.




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       147.    Users, once knowing, will be engaging in circumvention every time they log into

Windows. Once on notice, all Windows users will be engaging in circumvention and all Windows

purveyors will be engaging in trafficking in false copyright management information. The only

way to protect the victims of induced and/or contributory infringement would be to grant takedown

relief against Microsoft.

       148.    Microsoft updates to the Operating System trigger additional violations of Section

1201. Microsoft issues periodic updates of the Operating System. Each new update represents a

new copy of a new derivative work. Users typically specify that updates occur automatically in

the background, over the Internet. A user must be logged into the computer for an update to occur.

Once an update has occurred in the background, the user is instructed to reboot the computer,

which requires a password login. Once again, Microsoft takes the password key and unlocks

Windows access without permission of MRT, the second copyright owner. Another violation of

Section 1201 occurs as a new derivative work (copy) is distributed to the user for access. Such

updates can occur as often as every two weeks.

       149.    MRT has been and continues to be injured by Microsoft’s circumvention of MRT’s

technological means for protection of access to its copyrighted work.

       150.    Moreover, MRT’s software code was and still is unpublished. Microsoft grants

access to MRT’s unpublished software code via the circumvention of technological measures

every time license keys are exchanged, which violates MRT’s right not to speak under the First

Amendment. MRT is therefore entitled to an injunction halting further use or licensing of

Microsoft’s PMP patent and software.

       151.    MRT is entitled to statutory damages and the actual damages it has suffered from

Microsoft’s continuing circumvention of its protective technological measures, as well as to the




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profits attributable to the distribution or sale of the Microsoft Infringing Products, in an amount to

be proved at trial.

         152.   MRT is also entitled to recover attorneys’ fees and costs pursuant to 17 U.S.C.

§ 505.

 COUNT III—ALTERATION OF COPYRIGHT MANAGEMENT INFORMATION (17
                           U.S.C. § 1202)

         153.   MRT realleges the foregoing paragraphs as if fully set forth herein.

         154.   MRT included several forms of copyright management information (“CMI”) as part

of the MRT Software. The CMI included but was not limited to: the title of the code, notice of

authorship, terms and conditions for use of the code, and other distinctive information such as the

Fingerprint.

         155.   Microsoft’s false CMI (giving MRT no attribution) includes:




         156.   Microsoft knowingly and with the intent to enable or conceal infringement of

MRT’s copyrights, provided false CMI to consumers by claiming its own copyright on MRT’s

Software code and thereby also distributed false CMI.

         157.   Microsoft further altered MRT’s CMI by obfuscating its PMP code, copied from

MRT’s CDP code, with Warbird without MRT’s authority or consent, and then distributing the



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altered CMI to consumers on billions of Windows operating systems, knowing that such actions

would enable and conceal its own ongoing infringement of MRT’s copyrights.

         158.   Microsoft’s alteration of MRT’s copyrighted code through Warbird’s obfuscation

became evident only after GHIDRA permitted discovery of MRT’s Fingerprint behind the

concealment and the use of the Warbird Obfuscator.

         159.   MRT has been and continues to be injured by Microsoft’s distribution of altered

CMI under its own mark.

         160.   Microsoft also removed CMI from MRT’s copyrighted MoMI-018 patent and

replaced it with false CMI on its PMP patent. The copyright office considers the copyrighted

material in a patent an unpublished work (17 U.S.C. §1 202(a)(1) discusses only removal, not

distribution. which is discussed in subsection (a)(2)).

         161.   MRT is entitled to statutory damages and the actual damages it has suffered from

Microsoft’s alteration of MRT’s CMI, as well as to the profits attributable to the distribution or

sale of the Microsoft Infringing Products, in an amount to be proved at trial.

         162.   MRT is also entitled to recover attorneys’ fees and costs pursuant to 17 U.S.C.

§ 505.

           COUNT IV—TRAFFICKING IN ILLICIT LABELS (18 U.S.C. § 2318)

         163.   MRT realleges the foregoing paragraphs as if fully set forth herein.

         164.   MRT is the copyright owner for the MRT Software that Microsoft copied and

distributed.

         165.   By distributing its copied PMP code in both Original and Derivative Infringing

Products for the purposes of commercial advantage and private financial gain, Microsoft has

knowingly trafficked in a counterfeit or illicit labels accompanying a copy of a computer program,

and knowingly distributed counterfeit documentation.

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        166.    The presence of anti-reverse-engineering and anti-decompilation wording in both

the 2004 NDA and various agreements under which Microsoft used MRT Software put Microsoft

on notice that distributing the software with any mark other than MRT’s would be counterfeit—

i.e., Microsoft’s distribution of the counterfeit mark was knowing and willful.

        167.    MRT is permitted to enforce 18 U.S.C. § 2318 through a civil suit. 18 U.S.C.

§ 2318(e).

        168.    MRT has been and continues to be injured by Microsoft’s ongoing trafficking in

illicit or counterfeit labels.

        169.    MRT is entitled to statutory damages and the actual damages it has suffered from

Microsoft’s trafficking in illicit labels, as well as to the profits attributable to the distribution or

sale of the Microsoft Infringing Products, in an amount to be proved at trial. MRT reserves the

right to claim statutory damages under 18 U.S.C. § 2318(e)(4).

        170.    The harm to MRT has been irreparable and will continue unless restrained by this

Court. MRT does not have an adequate remedy at law to prevent Microsoft from distributing

counterfeit code. Pursuant to 18 U.S.C. § 2318(e)(2)(A), MRT is therefore also entitled to

injunctive relief restraining Microsoft and all of its employees, officers, agents, and all persons

acting in concert from continuing to infringe on MRT’s copyrights by reproducing or distributing

the Microsoft Infringing Products, and from creating further works derivative of those copyrighted

materials.

        171.    Pursuant to 18 U.S.C. § 2318(e)(2)(B), MRT also requests that this Court authorize

the impounding of all copies of Microsoft Infringing Products in Microsoft’s possession.

        172.    MRT is also entitled to recover attorneys’ fees and costs pursuant to 18 U.S.C.

§ 2318(e)(2)(C)(i).




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                          COUNT V—THEFT OF TRADE SECRETS
                             (18 U.S.C. § 1832, STATE LAW)

        173.    MRT realleges the foregoing paragraphs as if fully set forth herein.

        174.    The unpublished MoMI-018/’033 Patent application, which included the full

specifications, detailed drawings, diagrams, charts, and embodiments, was an MRT trade secret,

as were the technology underlying the MoMI-018/ʼ033 Patent application and the related MoMI-

018 embodiment source code, which was never publicly disclosed, even in the patent application.

MRT kept the unpublished MoMI-018/ʼ033 Patent and the source code, including the structure,

sequence, and organization of that code, as a trade secret. MRT’s trade secrets have significant

economic value.

        175.    MRT’s trade secrets were trade secrets at the time they were misappropriated by

Microsoft. Microsoft misappropriated the trade secrets reflected in the MoMI-018/ʼ033 Patent

before it was ultimately published and granted by the USPTO. Moreover, the software relating to

the Patent was never published. MRT’s patent copyrights were registered as unpublished works.

        176.    The unpublished MoMI-018/ʼ033 Patent and the source code derived independent

economic value from not being generally known to the public or to other persons who could obtain

economic value from its disclosure or use and was the subject of efforts that were reasonable under

the circumstances to maintain its secrecy.

        177.    MRT’s confidential, propriety, and trade secret information relates to products and

services used, sold, or ordered in, or intended to be used, sold, or ordered in, interstate or foreign

commerce. Microsoft has used and is continuing to use MRT’s trade secrets to generate business

from customers located in this District, throughout the United States, and indeed all over the world.

        178.    MRT maintained the confidentiality of its trade secrets. It required employees to

maintain the confidentiality of its trade secrets. It kept its trade secret binders in a single notebook



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stored in a desk drawer in a locked room to which only one person held a key. Secret source code

was kept on the password-protected Build Computer to which only three people legitimately had

access. Unpublished and undisclosed patents were kept in a file cabinet to which only one person

possessed a key. The locked file cabinet also held materials relating to patent claims, source code

enablement and embodiments, and source code passwords.               The patent copyrights remain

unpublished.

          179.   Microsoft acquired the trade secrets expressed in the unpublished MoMI-018/ʼ033

Patent application and its source code through means Microsoft knew to be improper, including

accepting material stolen from MRT’s offices, violating the terms of the 2004 NDA, and misusing

the information from the 2012 data room and violating the 2012 NDA. Microsoft also reverse-

engineered or decompiled the code to obtain the trade secret source code improperly, in violation

of the 2004 NDA. All of these actions were knowing, willful, and malicious—Microsoft could

not acquire the trade secrets through legitimate means, such as offering a fair price for them, and

instead resorted to theft.

          180.   All of MRT’s trade secrets were intended for use in interstate and foreign

commerce, and all of the Microsoft Infringing Products are trafficked in interstate and foreign

commerce.

          181.   MRT is permitted to enforce 18 U.S.C. § 1832 through a civil action. 18 U.S.C.

§ 1836(b)(1).

          182.   No officer of MRT discovered the misappropriation of the unpublished MoMI-

018/ʼ033 Patent application and its source code until less than three years prior to the filing of this

action.




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       183.    MRT has been and continues to be injured by Microsoft’s theft of its trade secrets.

As a direct consequence of the theft, MRT has been deprived of the opportunity to license or sell

its technology to Microsoft and others.

       184.    In addition, Microsoft has been unjustly enriched, in amounts according to proof at

trial. Microsoft used MRT’s trade secrets to successfully market and sell its own products and

services.

       185.    MRT is entitled to the actual damages it has suffered from Microsoft’s theft of its

trade secrets, as well as to the unjust enrichment attributable to the distribution or sale of the

Microsoft Infringing Products, in an amount to be proved at trial.

       186.    MRT is entitled to exemplary damages because the trade secrets were willfully and

maliciously misappropriated.

       187.    The harm to MRT has been irreparable and will continue unless restrained by this

Court. MRT does not have an adequate remedy at law to prevent a giant software company from

distributing MRT’s trade secrets. Pursuant to 18 U.S.C. § 1836(b)(2), MRT alleges that the

extraordinary circumstances exist to warrant issuing an order of civil seizure. A company on the

scale of Microsoft could easily evade an injunction prohibiting sale of the trade secret material,

simply accepting mounting fines, unless the Microsoft Infringing Products are placed under a

seizure order. Through its control over its own operating systems, even on remote computers,

Microsoft has constructive possession of the trade secret code illicitly hidden in its PMP software.

Years after its misappropriation, Microsoft has no legitimate interest in using trade secret code that

it knows it has been misappropriated and should be able by now to engineer a solution sufficient

to mitigate the harm of such an order, such as by disabling the use of PMP through an automatic

update pushed to versions of Microsoft operating systems.




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        188.       MRT is also entitled to recover attorneys’ fees and costs pursuant to 18 U.S.C.

§ 1836(b)(3)(D).

               COUNT VI—VIOLATION OF UNFAIR COMPETITION LAW
                               (STATE LAW)

        189.       MRT realleges the foregoing paragraphs as if fully set forth herein.

        190.       Microsoft committed, and continues to commit, unlawful, unfair, and fraudulent

business acts by passing off its PMP software as if it were its own, rather than CDP, the intellectual

property of MRT.

        191.       Microsoft used, and continues to use, unfair, deceptive, and untrue advertising to

deceive the public into believing that the intellectual property was properly Microsoft’s to

distribute, thereby also denigrating MRT’s intellectual property.

        192.       MRT has been and continues to be injured by Microsoft’s ongoing unfair business

practices and untrue advertising. The unfair and deceptive practices and advertising caused and

continue to cause such harm.

        193.       The foregoing allegations demonstrate the illegality of Microsoft’s actions under

both federal and applicable state law and the unlawful means it has used to oppress a vastly smaller

competitor.

        194.       MRT is entitled to the actual damages it has suffered from Microsoft’s ongoing use

of unlawful, unfair, and deceptive trade practices and advertising, as well as to the profits

attributable to the distribution or sale of the Microsoft Infringing Products, in an amount to be

proved at trial.

        195.       The harm to MRT has been irreparable, and will continue unless restrained by this

Court. MRT does not have an adequate remedy at law to prevent a giant software company from

using unlawful and unfair means of competition. MRT is therefore also entitled to injunctive relief



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restraining Microsoft and all of its employees, officers, agents, and all persons acting in concert

from continuing to reproduce or distribute the Microsoft Infringing Products, and from creating

further works derivative of those copyrighted materials.

       196.      MRT is also entitled to recover attorneys’ fees and costs.

                 COUNT VII—VIOLATION OF DMCA TAKEDOWN ORDER
                                 (17 U.S.C. § 512)

           197. MRT realleges the foregoing paragraphs as if fully set forth herein.

       198.      On December 9, 2024, MRT notified Microsoft of its violation of MRT’s

copyrights pursuant to 17 U.S.C. § 512.

       199.      The notice, attached as Exhibit B, notifies Microsoft of its infringing activities

under 17 U.S.C. § 512(c)(3).

       200.      The requested takedown would not harm consumers. TV viewers would not be

impacted. They would still be able to stream media content on devices including Smart TVs using

Google’s Widevine and Apple Fairplay. Widevine is a Digital Rights Management (DRM)

technology that is used by streaming services, such as Amazon, Netflix, Disney+, and Hulu and

Spotify.

       201.      FairPlay DRM is used exclusively by Apple to protect digital content across their

entire ecosystem, including iPhones, iPads, Apple TVs, and Mac computers, essentially meaning

that content providers delivering content to Apple devices utilize FairPlay DRM exclusively to

secure their streaming videos, music, and other digital media on those platforms.

       202.      Microsoft Windows PC users would not be impacted. They would still be able to

use Google Chrome or Mozilla Firefox with Widevine to stream content.

       203.      Phone users would not be impacted. Apple phones can use Fairplay to stream

content. Android phones can use Widevine to stream content.



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        204.    Microsoft Edge browser use is down to five percent of the market. A takedown

from the browser would not affect the streaming of media content.

        205.    Windows N in the European Union omits MRT’s copyrighted code from the

Windows OS for antitrust reasons. Microsoft’s derivative version of MRT’s code can be added to

EU Windows PC by installing the Windows Media Feature Pack for Windows N. Microsoft’s

Policy Engine and MFPMP.exe can be removed from Windows PC’s inside the EU and omitted

from future updates of the Windows Media Feature Pack.

        206.    Microsoft did not act expeditiously to remove or disable the infringing use of PMP

and other copyrighted material in its software.

        207.    Microsoft derives economic benefit from the continued use of PMP and other

copyrighted material in its software.

        208.    MRT has been and continues to be injured by Microsoft’s refusal to act

expeditiously to remove or disable the infringing use of PMP and other copyrighted material in its

software.

        209.    MRT is entitled to the actual damages it has suffered from Microsoft’s continuing

infringement of its copyrights, as well as to the profits attributable to the distribution or sale of the

Microsoft Infringing Products, in an amount to be proved at trial.

        210.    The harm to MRT has been irreparable and will continue unless restrained by this

Court. MRT does not have an adequate remedy at law to prevent Microsoft from publishing

illicitly copied code. MRT is therefore also entitled to injunctive relief restraining Microsoft and

all of its employees, officers, agents, and all persons acting in concert from continuing to infringe

on MRT’s copyrights by reproducing or distributing the Microsoft Infringing Products, and from

creating further works derivative of those copyrighted materials.




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         211.   Moreover, MRT’s software code was and still is unpublished. MRT is therefore

entitled to an injunction halting further use or licensing of Microsoft’s PMP patent and software.

         212.   MRT is also entitled to recover attorneys’ fees and costs pursuant to 17 U.S.C.

§ 505.

   COUNT VIII—DECLARATORY JUDGMENT OF INVALIDITY OF INFRINGING
                MICROSOFT COPYRIGHTS (28 U.S.C. § 2201)

         213.   MRT realleges the foregoing paragraphs as if fully set forth herein.

         214.   Microsoft has asserted, and continues to assert, copyright claims over the source

code of PMP. These copyright claims are the basis for the licenses that Microsoft sells for its

Infringing Products (both Original and Derivative).

         215.   Any copyright Microsoft claims for the source code of PMP is invalid. Microsoft

does not own and did not create the PMP source code as an original work. The PMP source code

is therefore uncopyrightable by Microsoft.

         216.   An actual controversy exists between MRT and Microsoft regarding the rights in

and ownership of the copyrights to the source code embodied in PMP and CDP.

         217.   MRT and Microsoft have adverse legal interests regarding their respective rights

in and ownership of the copyrights to the source code embodied in PMP and CDP. The dispute

is not hypothetical, but is immediate and real, as prior litigation has demonstrated, and a

declaration of the parties’ rights with respect to those copyrights would conclusively resolve the

conflict.

         218.   MRT is entitled to a declaration in accordance with 17 U.S.C. § 411(b) that

Microsoft’s copyrights in the PMP source code and all of the works and embodiments derived

therefrom are invalid, including the following copyrights:




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Note: The plaintiffs could not find registrations for Microsoft Browsers, other than Internet

Explorer 9, nor the Azure Stack (which contains Azure RMS) later than 2021.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff asks this Court for judgment for itself and against Defendants,

including:

               a. Actual and statutory damages;

               b. Profits attributable to Microsoft’s infringing use of the copyrighted material;

               c. Disgorgement of Microsoft’s unjust enrichment;

               d. Exemplary damages;

               e. An injunction restraining Microsoft from ongoing use of the copyrighted

                   trade-secret code in its PMP program;

               f. An order impounding all Microsoft Infringing Products in Microsoft’s

                   possession;


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              g. An order of civil seizure disabling the trade-secret PMP code;

              h. A declaration that Microsoft’s infringing copyrights are invalid;

              i. Attorneys’ fees and costs; and

              j. Such other and further relief at law or in equity as this Court should find just

                  and proper.

                                       JURY DEMAND

      Plaintiffs hereby demand a jury trial as to all claims triable by a jury.

Respectfully submitted,                           Dated this 10th day of December, 2024.
/s/ Jonathan S. Massey
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